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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                                     CASE NO. 22-61420-CIV-DIMITROULEAS

  S.D. individually and on behalf of D.D.
  a minor,

         Plaintiff,

  vs.

  NOVA SOUTHEASTERN UNIVERSITY, INC.
  BROWARD COUNTY SCHOOL BOARD,

        Defendant.
  ___________________________________/


                       ORDER APPROVING NOTICE OF DISMISSAL


         THIS CAUSE is before the Court upon Plaintiffs’ Notice of Voluntary Dismissal Without

  Prejudice (the “Notice”) [DE 10], filed herein on September 2, 2022. The Court has carefully

  reviewed the Notice and is otherwise fully advised in the premises.


         Accordingly, it is ORDERED AND ADJUDGED as follows:


         1. The Notice [DE 10] is hereby APPROVED;

         2. This case is DISMISSED WITHOUT PREJUDICE; and

         3. The Clerk shall CLOSE this case and DENY any pending motions as MOOT.

          DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida,

  this 6th day of September, 2022.
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  Copies furnished to:
  Counsel of Record
